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                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF MASSACHUSETTS
                                EASTERN DIVISION

 IN RE:                                           Chapter 13

 WILSON ANDRADE,                                  Case No. 16-12449-FJB

                       Debtor.


 WILSON ANDRADE,

                       Plaintiff,                 Adv. Pro. No. 18-01020-FJB

                       v.

 DITECH FINANCIAL LLC,

                       Defendant.


       ASSENTED MOTION TO EXTEND SCHEDULING AND PRETRIAL ORDER

       Now comes the Defendant, Ditech Financial LLC (“Ditech”), and respectfully requests
that deadline for conducting the Fed. R. Civ. P. 26(f) conference be extended for a period of
thirty (30) days from October 23, 2018 to November 23, 2018. In support thereof, Ditech states
the following:
   1. The Court issued a Scheduling and Pretrial Order on October 2, 2018 which required the
       parties to conduct a Rule 26(f) conference on or by October 23, 2018.
   2. The Debtor’s Chapter 13 case (No. 16-12449) was dismissed on October 18, 2018.
   3. The basis for filing the Adversary Proceeding and Debtor’s claims therein relate to
       Ditech’s Proof of Claim filed in the now-dismissed Chapter 13.
   4. In light of the dismissal of the underlying Chapter 13 case and the uncertainty of whether
       this Adversary Proceeding will proceed, the parties agree to a 30-day extension of the
       Rule 26(f) conference, and a 30-day extension of all other discovery and pretrial
       deadlines as currently set forth in the Scheduling and Pretrial Order issued on October 2,
       2018.
   5. The Plaintiff, Wilson Andrade, assents to the filing of this Motion.
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Respectfully Submitted:                            Dated: October 23, 2018

Ditech Financial LLC
By Its Attorney,

/s/ Julie A. Ranieri
Julie A. Ranieri, Esquire
BBO#: 655936
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                            UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSACHUSETTS (Boston)

 In Re:                                            Case Number 16-12449
 Wilson Andrade                                    Chapter 13

 Wilson Andrade                                    Adversary Proceeding
        Plaintiff                                  No. 18-1020
 v.

 Ditech Financial LLC
         Defendant

                                 CERTIFICATE OF SERVICE

        I, Julie A. Ranieri, Attorney for Ditech Financial LLC hereby certify that on October 23,
2018 I electronically filed the foregoing Certificate Regarding Duty to Preserve Evidence with
the United States Bankruptcy Court for the District of Massachusetts using the CM/ECF System.
I served the foregoing documents on the following CF/ECF participants;

Alexis A. Leventhal, Esq.

I certify that I have mailed by first class mail, postage prepaid the documents electronically
               filed with the Court on the following non-CM/ECF participants:

 Wilson Andrade
 99A Linwood Ave.
 Melrose, MA 02176




                                            /s/ Julie A. Ranieri
                                            Julie A. Ranieri, Esquire
                                            BBO#: 655936
                                            Korde & Associates, P.C.
                                            900 Chelmsford Street, Suite 3102
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